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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

ALLEN HOSTETLER, et al.,                     )
                                             )
               Plaintiffs,                   )
                                             )
               v.                            )         No. 1:18-cv-03995-JRS-TAB
                                             )
JOHN DOE 1, et al.,                          )
                                             )
               Defendants.                   )

          Notice to the Court Concerning Plaintiffs’ Inability to Effect Service

       Plaintiffs, by counsel, state that:

1.     This action was filed on December 19, 2018.

2.     The defendants are described in the complaint as being two unknown officers of

the Indianapolis Metropolitan Police Department.

3.     In order to serve the defendants with summons, plaintiffs must ascertain their

actual identities.

4.     Plaintiffs were unable to do so within the 90-day period prescribed by Federal Rule

of Civil Procedure 4(m) and, on March 20, 2019, this Court granted plaintiffs until April

18, 2019, to effect service. (Dkt. 9).

5.     Plaintiffs have still not been able to ascertain the actual identities of the defendants

and therefore cannot effect service.




                                                 [1]
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6.     Plaintiffs understand that a failure to timely effect service must result in this Court

dismissing this action without prejudice or ordering that service be made within a

specified time. Federal Rule of Civil Procedure 4(m).

7.     Undersigned counsel does not believe that a further extension of time to effect

service would be of benefit.

       WHEREFORE, plaintiff file this notice concerning their inability to effect service

in this case.

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                                             [2]
